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                 EXHIBIT A
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                                  UNITED STATES DISTRICT COURT
                                   DISTRICT OF MASSACHUSETTS
                                                                                            11-CV-10629-DJC
FIRST EXECUTION                                                   CIVIL ACTION NO.


         To the United States Marshal for the District of Massachusetts or either of
his Deputies and to                                                                         , Special
Process Server:
                                              Bose Corporation
         WHEREAS                                                                            has
recovered judgment against Salman Ejaz
                                                                                  on the 24th       day
of October 2012                              , for the sum of $ 350,000.00                              ,
debt or damage, pre-judgment interest in the amount of $ 63,000.00                                          ,
and costs of this suit in the amount of $ 0                                  , as to us appears of
record, whereof this First Execution remains to be done,
         WE COMMAND YOU, therefore, that of the goods and chattels or lands of
the said Judgment Debtor, to cause to be paid and satisfied unto the said
Judgment Creditor, at the value thereof in money, the aforesaid sums, being a
total of $ 413,000.00                      , in the whole, with interest thereon at the rate
of 12%           from said day of rendition of said judgment; and thereof also to satisfy
yourself for your own fees.
         HEREOF FAIL NOT and make due return of this Writ with your doings
thereon into the Clerk's Office of our said court, at Boston                            ,
Massachusetts, within Twenty (20) years after the date of said judgment, or within
Ten (10) days after this Writ has been satisfied or discharged.
         Dated this              day of                                           .

                                                                  SARAH A. THORNTON
                                                                  CLERK OF COURT
         SEAL

                                                       By:
                                                                  Deputy Clerk

(Execution 1st.wpd - 3/7/2005)
